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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF KENTUCKY

                                                       )
In re:                                                 )   Chapter 11
                                                       )
AMERICORE HOLDINGS, LLC, et al.,1                      )   Case No. 19–61608-grs
                                                       )
                                   Debtors.            )   Jointly Administered
                                                       )
                                                       )   Honorable Gregory R. Schaaf
                                                       )

         NOTICE OF PATIENT CARE OMBUDSMAN’S SECOND INTERIM REPORT

          PLEASE TAKE NOTICE that on January 21, 2020, Suzanne Koenig was appointed as

 the Patient Care Ombudsman (“Ombudsman”) in the above-captioned Chapter 11 cases by the

 Office of the United States Trustee, pursuant to the Order of the United States Bankruptcy Court

 for the Eastern District of Kentucky dated December 31, 2019.

          PLEASE TAKE FURTHER NOTICE that attached to this Notice is the Ombudsman’s

 second interim written report as required by 11 U.S.C. § 333 (the “Report”).

          PLEASE TAKE FURTHER NOTICE that a copy of the Report will be posted at each

 of St. Alexius Hospital and Izard County Medical Center, is available on the Court’s website, and

 may be obtained free of charge by contacting:

                                      Robyn Warren, Legal Assistant
                                  SAUL EWING ARNSTEIN & LEHR LLP
                                       Telephone: (302) 421-6839
                                        Facsimile: (302) 421-6813
                                     Email: robyn.warren@saul.com




 1
          The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification numbers
          in parentheses): Americore Holdings, LLC (0115); Americore Health, LLC (6554); Americore Health
          Enterprises, LLC (3887); Ellwood Medical Center, LLC (1900); Ellwood Medical Center Real Estate, LLC
          (8799); Ellwood Medical Center Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard
          County Medical Center, LLC (3388); Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610);
          and St. Alexius Hospital Corporation #1 (2766).
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Dated: May 20, 2020                       SAUL EWING ARNSTEIN & LEHR LLP

                                       By: /s/ John D. Demmy
                                          John D. Demmy (DE Bar No. 2802)
                                          1201 N. Market Street, Suite 2300
                                          P.O. Box 1266
                                          Wilmington, DE 19899
                                          Telephone: (302) 421-6848
                                          Facsimile: (302) 421-5881
                                          Email: john.demmy@saul.com

                                          Counsel for the Patient Care Ombudsman




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          SUMMARY OF OMBUDSMAN’S MONITORING AND OBSERVATIONS

A.        St. Alexius Hospital

          Due to various restrictions arising from the COVID-19 pandemic during this reporting

period, the Ombudsman did not make any on-site visits to St. Alexius Hospital (“Hospital”) located

at 3933 S. Broadway, St. Louis, MO. The Ombudsman has had frequent telephone and e-mail

contact with the Chapter 11 Trustee (“Trustee”) along with key Hospital personnel including the

director of nursing services (“DNS”), the new director of quality (“DOQ”), and the chief medical

officer (“CMO”). The Hospital had no sentinel events or major patient accidents during this report

period.

          1.     Review of Key Hospital Staff

          The director of quality position was vacant during the Ombudsman’s previous visit to the

Hospital in early March 2020. The Trustee reported to the Ombudsman that the position had been

filled following interviews with several candidates. The chosen candidate had held a clinical

position in the Hospital previously before being terminated by the Debtor prior to the appointment

of the Chapter 11 Trustee. The Trustee reported that the selected candidate was the most qualified

person, had thorough knowledge regarding Hospital operations, and required little orientation to

the position. In consideration of the current circumstances related to the Hospital’s pandemic

response and the urgency to fill the position, the selected candidate started employment as the

director of quality on March 23, 2020.

          The chief executive officer that had been in place during the Ombudsman’s previous visit

to the Hospital is no longer the CEO but continues to provide services to the Hospital in the

emergency department. The CEO position remains vacant as the Trustee is frequently present in

the Hospital.
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         2.        Nursing Department

         The Nursing Department has remained stable during the report period. Staff have adequate

personal protective equipment (“PPE”).

         3.        Reported Incidents

         During this report period, the Ombudsman reviewed information from the DOQ regarding

two incidents.

         The first incident was reported to the Ombudsman by the DOQ and occurred on April 16,

2020 at 0655. The incident took place on floor 3W on the Hospital’s behavioral unit. The incident

involved an altercation between a patient care technician (“PCT”), an eight-year employee of the

Hospital, and an adult patient. Staff rushed to the area and security personnel were called to the

scene. The patient was subdued and subsequently returned to their room for assessment. The

patient did not appear to be injured.

         The PCT was relieved of her duties while an investigation was completed. The unit is

monitored by video. Quality team members reviewed video footage of the altercation several times

and determined that the PCT was attempting to use a Crisis Prevention and Intervention (“CPI”)

measure. Based upon the team’s review, the PCT was reinstated and allowed to return to her post.

The PCT also was required to attend additional CPI classes.

         The second incident occurred in the emergency department (“ED”) on April 29, 2020. The

Ombudsman discussed the incident with the DOQ and also reviewed several related documents.

The subject patient’s visit on the date of the incident represented the third time the patient had

sought care at the ED in the prior seven days. Records indicated the patient appeared lethargic and

possibly under the influence of an unknown substance. During each of the prior visits, the patient

demonstrated behavioral issues and left the Hospital during the assessment process against medical



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advice. On April 29, 2020, the patient again demonstrated inappropriate behaviors and left the

Hospital against medical advice and went to the Hospital parking lot where the patient sat down.

Law enforcement authorities were contacted. Responding officers assisted in returning the patient

to the ED where the patient was placed on a cart and a four-point restraint was applied. The patient

then was medicated. Several hours later, the patient was discharged and walked out of the ED.

         The DOQ expressed concerns to the Ombudsman that the patient was not treated

professionally, at which point the Ombudsman recommended that the DOQ report their concerns

to their supervisor. The Ombudsman immediately reported the incident to the Trustee. The

incident was later reviewed by the members of the Hospital’s quality department. On May 1, 2020,

the DOQ notified the Ombudsman by e-mail that he was still awaiting additional information

before the members of the quality department could issue the final report.

         The ED director, a Hospital physician, reviewed the video recordings from the date of the

incident as well as staff statements. The ED director concluded that although the patient had been

difficult, every patient’s visit to the ED is unique and the patient should have been treated

according to the EMTALA1 during their medical screening examination. The ED director

determined that the ED did meet the standard of care.

         The DOQ reported that additional training and education is being provided to the ED staff

on best practices for interventions when handling patients displaying unacceptable behaviors. Staff

are being re-educated on the need to protect a patient’s privacy. New protocols have been

established by the security department and Hospital administration regarding the review of video

footage. The Ombudsman is satisfied with the Hospital’s review of the incident.




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         The Emergency Medical Treatment and Labor Act (EMTALA) is a law enacted by Congress in 1986 to
         ensure public access to emergency care.

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B.       Izard County Medical Center

         Since the last report filed with the Court, the Ombudsman has been in frequent contact via

telephone and e-mail with the chief executive officer (CEO) of Izard County Medical Center

(“Medical Center”). The Medical Center is located at 61 Grasse Street, Calico Rock, AR. Through

this communication, the Ombudsman discussed with the CEO the Hospital's operational status and

any issues arising in relation to the COVID-19 pandemic. The Hospital has had no sentinel events

or major patient incidents during the report period.

         The CEO reported to the Ombudsman that through the month of May 2020, the average

daily census in the acute care beds was two (2) patients. The CEO reported that the nursing

department had remained stable and has been staffed appropriately. The Ombudsman also reports

that the CEO has had excellent communication with the Trustee and had obtained adequate medical

supplies and medication throughout this time period. The CEO stated that her biggest concern

during the month of April was getting adequate information from the Arkansas Department of

Health (“ADOH”) regarding test specimens. The Hospital must request approval from ADOH

prior to submitting a specimen for COVID-19 testing. The Hospital serves as a drop off and pick

up location for specimens on weekends and a courier from ADOH transports the specimens to

Little Rock for processing.

         The Hospital has had only one (1) patient that has been tested for COVID-19 and the results

were negative. The CEO reported that the Hospital has an aggressive screening protocol in place

and that all staff, visitors and patients are screened and that all must wear appropriate personal

protective equipment (PPE). The CEO reported that the hospital has not had any positive cases of

COVID-19. All staff must wear a mask when in direct patient contact in areas such as the

emergency room, laboratory, x-ray, nursing, physical therapy, etc. Staff are strongly encouraged



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to wear masks when traversing the hallways and whenever the six-foot distancing recommendation

cannot be followed. All patient visitors are excluded from the Hospital except for limited

circumstances such as comfort care when the patient is near the end of their life expectancy and

for a parent or guardian accompanying a child requiring care. Visitors and patients are restricted

to their room as much as possible; facemasks should be worn if they leave the room. Hand hygiene

instruction is provided to all staff and patients and the educator documents the education provided

with the date, time and location. Visitors and patients are to perform social distancing wherever

possible.

         1.        Emergency Department

         The emergency department (“ED”) saw 135 patients during the months of April and May

2020. None of the cases were to rule out COVID-19 infection. The Ombudsman learned from the

CEO that the ED has been adequately staffed. The ED Triage Room has been renovated and now

is capable of maintaining a negative pressure atmosphere. If a patient presents with symptoms of

the SARS-CoV-2 virus, the ED will complete the Person of Interest (“POI”) documentation prior

to discharge to the community with instructions for obtaining a virus test. The Hospital files a

report with ADOH for any patients that leave against medical advice and whom exhibit symptoms

of COVID-19.

         The ED is the location of the COVID-19 drop off site and adheres to the following

procedure for specimen handling:

                  Once the ED receives the packaged and labeled specimen, it must be sent to the

                   laboratory to be refrigerated;

                  The ED must notify the Arkansas Department of Health that a specimen has been

                   dropped off;



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                  The specimen courier for ADOH must sign that they are taking custody of the

                   specimen(s) with date and time noted.

         2.        State and Local Coronavirus Update

         During April 2020, the State of Arkansas2 reported a cumulative total of 3,017 COVID-19

cases with 50 deaths. Healthcare workers made up 316 of those noted above. Of the state’s

reported cases, 109 persons were hospitalized with 25 requiring ventilator care. Twenty-six Izard

County residents were tested with five residents testing positive for COVID-19. Two of the five

residents have reportedly recovered.

         During May 2020, the State of Arkansas reported a cumulative total 4,043 COVID-19 cases

with 3,149 having recovered and 803 remaining as active cases. Of the cases, 278 of reported cases

are from the prison system, 86 from nursing homes and 439 from the community. Across the state,

there have been 94 deaths. Currently, 61 are hospitalized with 11 requiring ventilator assistance.

Forty-nine (49) nursing homes have residents with positive test results for COVID-19. Izard

County has had eleven positive cases of COVID-19, with seven residents having recovered. The

Hospital continues to screen all patients and according to the CEO, the Hospital has not had any

positive cases of COVID-19.

                                               CONCLUSION

         The Ombudsman did not observe any significant concerns.




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         Reported data is from the Arkansas Department of Health.

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